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U.S, DISTRICT COURT
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ORIGINAL OCALED
IN THE UNITED STATES DISTRICT C
APR -9 2024

FOR THE NORTHERN DISTRICT OF
DALLAS DIVISION

ON U.S. DISTRICT eo

UNITED STATES OF AMERICA, § We
ex rel. PATRICIA LESKO, §
§

§ CIVIL ACTION NO.

BS -24CV08 654K

Plaintiff and Relator,
vs.

FILED UNDER SEAL
UNIVERSITY OF DALLAS;
HENDRIX COLLEGE;
OUACHITA BAPTIST
UNIVERSITY; THE

MASTERS UNIVERSITY AND
SEMINARY; HUSSON
UNIVERSITY; CONCORDIA
UNIVERSITY; OKLAHOMA
BAPTIST UNIVERSITY;
OKLAHOMA CHRISTIAN
UNIVERSITY INC.; MENTAL
HEALTH COOPERATIVE INC.;
BENNINGTON COLLEGE
CORPORATION; BELOIT
COLLEGE; WEST VIRGINIA
WESLEYAN COLLEGE; SPRING
HILL COLLEGE; MARCUS
JEWISH COMMUNITY CENTER
OF ATLANTA; THE JEWISH
COMMUNITY CENTER OF
GREATER KANSAS CITY;
EASTERN NAZARENE
COLLEGE; UNIVERSITY OF
JAMESTOWN; LIMESTONE
UNIVERSITY; EDUCATION
SUCCESS NETWORK, INC.;

QA LP LP) LP) LP LP LP LAP) LP GA) LP) GP GA) LAP) LA) GA) GP: GA) LA, GP: EA) GP) FA: GA: GP GA: SA) LA: LA) GH. GA»

COMPLAINT 1

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AND NATIONAL §
ASSOCIATION ON DRUG §
ABUSE PROBLEMS INC., §
§
Defendants. §

FAL L ACT MPL T

ER 31 U.S.C. § 373 2
The United States of America ex rel. Patricia Lesko files this action against
Defendants University of Dallas, Hendrix College, Ouachita Baptist University,
The Masters University and Seminary, Husson University, Concordia
University, Oklahoma Baptist University, Oklahoma Christian University Inc.,
Mental Health Cooperative Inc, Bennington College Corporation, Beloit
College, West Virginia Wesleyan College, Spring Hill College, Marcus Jewish
Community Center of Atlanta Inc., The Jewish Community Center of Greater
Kansas City, Eastern Nazarene College, University of Jamestown, Limestone
University, Education Success Network, Inc., and National Association on
Drug Abuse Problems Inc., and in support thereof alleges the following:
I. NATURE OF THE ACTION

1. ‘This action arises out of Defendants’ violation of the False Claims

Act (the “FCA”) by falsely certifying that they were eligible to receive Paycheck

Protection Loans based on an inaccurate reporting of the number of employees

whose paychecks would supposedly be protected and by knowingly concealing

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their ineligibility to receive forgiveness of their obligations to repay those loans.
The certification and acts of concealment were material facts relied upon by the
Small Business Administration (“SBA”) in approving the loan applications and
loan forgiveness applications. Defendants’ misrepresentations either provided
them with more money than they were entitled to receive, or provided them with
money that they were not entitled to receive in any amount because they did not
meet the required size qualifications set out in the CARES Act.

2. Defendants are liable for (1) the amount of PPP funds received by
them for which they were ineligible; (2) the amount of loan forgiveness received
by them over and above the amount of the initial loan received; and (3) the loan
processing fees paid by the SBA to a lender for the loans disbursed and forgiven
due to the fraudulent conduct alleged herein, as well as for the additional
penalties enumerated in the False Claims Act.

Il. PARTIES
3. Relator Patricia Lesko is a United States citizen and a resident of

Michigan. She brings this action as an original source based upon direct and

unique information she has obtained based in part on her experience as an

investigative reporter. To her knowledge, the information contained herein has
not been publicly disclosed.

4. The United States is the real plaintiff in interest with respect to the

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claims asserted in this matter. The defrauded loan programs are administered
and supervised by the Small Business Administration, an independent, cabinet-
level agency of the Federal Government.

5. Defendant University of Dallas is a Texas 501(c)(3) nonprofit
organization that has its principal place of business at 1845 Northgate Drive,
Irving, Texas 75062-4736. No service is requested at this time.

6. Defendant Hendrix College is an Arkansas 501(c)(3) nonprofit
organization that has its principal place of business at 1600 Washington Ave.,
Conway, Arkansas 72032. No service is requested at this time.

7. Defendant Ouachita Baptist University is an Arkansas 501(c)(3)
nonprofit organization that has its principal place of business at 410 Ouachita
Street, Arkadelphia, Arkansas 71998. No service is requested at this time.

8. Defendant The Masters University and Seminary is a California
501(c)(3) nonprofit organization that has its principal place of business at 21726
Placerita Canyon Road, Santa Clara, California 91321. No service is requested
at this time.

9. Defendant Husson University is a Maine 501(c)(3) nonprofit
organization that has its principal place of business at 1 College Circle, Bangor,

Maine 04401. No service is requested at this time.

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10. Defendant Concordia University is a Nebraska 501(c)(3) nonprofit
organization that has its principal place of business at 800 North Columbia
Avenue, Seward, Nebraska 68434. No service is requested at this time.

11. Defendant Oklahoma Baptist University is an Oklahoma 501(c)(3)
nonprofit organization that has its principal place of business at 500 W.
University, Shawnee, Oklahoma 74804. No service is requested at this time.

12. Defendant Oklahoma Christian University is an Oklahoma
501(c)(3) nonprofit organization that has its principal place of business at 2501
East Memorial Road, Oklahoma City, Oklahoma 73013. No service is requested
at this time.

13. Defendant Mental Health Cooperative Inc. is a Tennessee 501(c)(3)
nonprofit organization that has its principal place of business at 275 Cumberland
Boulevard, Nashville, Tennessee 37228. No service is requested at this time.

14. Defendant Bennington College Corporation is a Vermont 501(c)(3)
nonprofit organization that has its principal place of business at 1 College Drive,
Bennington, Vermont 05201. No service is requested at this time.

15. Defendant Beloit College is a Wisconsin 501(c)(3) nonprofit

organization that has its principal place of business at 700 College Street, Beloit,

Wisconsin 53511. No service is requested at this time.

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16. Defendant West Virginia Wesleyan College is a West Virginia
501(c)(3) nonprofit organization that has its principal place of business at 59
College Avenue, Buckhannon, West Virginia 26201. No service is requested at
this time.

17. Defendant Spring Hill College is an Alabama 501(c)(3) nonprofit
organization that has its principal place of business at 4000 Dauphin Street,
Mobile, Alabama 36608. No service is requested at this time.

18. Defendant Marcus Jewish Community Center of Atlanta Inc. is a
Georgia 501(c)(3) nonprofit organization that has its principal place of business
at 5342 Tilly Mill Road, Dunwoody, Georgia 30338. No service is requested at
this time.

19. Defendant The Jewish Community Center of Greater Kansas City
is a Kansas 501(c)(3) nonprofit organization that has its principal place of
business at 5801 West 115th Street, Overland Park, Kansas 66211. No service is
requested at this time.

20. Defendant Eastern Nazarene College is a Massachusetts 501(c)(3)
nonprofit organization that has its principal place of business at 23 East Elm

Avenue, Quincy, Massachusetts 02170. No service is requested at this time.

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21. Defendant University of Jamestown is a North Dakota 501(c)(3)
nonprofit organization that has its principal place of business at Jamestown,
North Dakota 58405. No service is requested at this time.

22. Defendant Limestone University is a South Carolina 501(c)(3)
nonprofit organization that has its principal place of business at 1115 College
Drive, Gaffney, South Carolina 29340. No service is requested at this time.

23. Defendant Education Success Network, Inc. is a New York
501(c)(3) nonprofit organization that has its principal place of business at 4
Lakeview Park, Rochester, New York 14613. No service is requested at this
time.

24. Defendant National Association on Drug Abuse Problems Inc. is a
New York 501(c)(3) nonprofit organization that has its principal place of
business at 355 Lexington Avenue, 2nd Floor, New York, New York 10017. No
service is requested at this time.

MM. JURISDICTION AND VENUE

25. This Court has jurisdiction over this action under 28 U.S.C. § 1331
and 31 U.S.C. §§ 3732(a) and 3730(b), which provide this Court with original
jurisdiction to hear a qui tam action. Relator is an “original source” and brings
this action in the name of the United States as contemplated by the FCA, 31

U.S.C. §§ 3729-33.

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26. Personal jurisdiction and venue are proper in this district under 28
U.S.C. § 1391(c) and 31 U.S.C. § 3732(a) because at least one Defendant
transacts business in the Northern District of Texas, because acts prohibited by
31 U.S.C.§ 3729 have been committed by at least one Defendant in this judicial
district, and because all Defendants have sufficient minimum contacts with the
United States.

27. There has been no public disclosure of the “allegations or
transactions” in this Complaint, including in any criminal, civil, or
administrative hearing, nor in any congressional, administrative or General
Accounting Office or Auditor General’s report, hearing, audit, or investigation,
or in the news media. As detailed below, Relator has direct and personal
knowledge of such allegations and transactions. To the extent that any such facts
herein become public, Relator voluntarily provided disclosures of these
allegations and transactions to the United States pursuant to FCA requirements
prior to such public release or knowledge.

IV. FACTS
A. The CARES Act and PPP Loans

28. The Coronavirus Aid, Relief, and Economic Security Act (“CARES

Act”) is a law intended to address the economic effects of the COVID-19

pandemic in the United States.

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29. The CARES Act led to, among other things, the Paycheck
Protection Program (“PPP”). See CARES Act, No. 116-136 (March 27, 2020).
The PPP is a loan program that was designed to provide eligible small businesses
low-interest loans that would be guaranteed by the SBA with support from the
Department of the Treasury.

30. The PPP provided small businesses with funds to pay up to 24
weeks of payroll costs, including benefits. While similar in most ways to existing
SBA loan programs, the CARES Act suspended the ordinary requirement
contained in the Small Business Act, 15 U.S.C. § 632(h), that borrowers must be
unable to obtain credit elsewhere. The PPP section of the CARES Act also
expanded eligibility for SBA loans beyond the limitations of the Small Business
Act,15 U.S.C. §§ 632, 636.

31. To demonstrate the amount of the loan to which they would be
entitled, PPP applicants were asked to report their average monthly payroll and
their total number of employees. Payroll costs used to calculate loan amounts
(and, later, loan forgiveness amounts) were capped at $100,000 per employee
per year. For any employee who made over $100,000 per year, the loan
calculation required calculation of payroll costs as if that employee made
$100,000. See Paycheck Protection Program Borrower Application Form.

32. As originally enacted, the CARES Act made the following entities

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eligible to apply for PPP funding if they were affected by COVID-19:
a. any for-profit small business concern;
b. any for-profit business, non-profit association organized under 26
U.S.C. § 501(c)(3), veterans’ association organized under 26 U.S.C.
§ 501(c)(19), or tribal small businesses that met certain size
requirements; and

c. certain accommodations and food-service businesses that employed

fewer than 500 persons per location.

33. To apply for a PPP loan, entities submitted their First Draw
Borrower Application Form to a federally insured depository institution, credit
union, or Farm Credit System, of their choice. That chosen lender processed the
applications and, if approved, funded the loans. Such lenders were “deemed to
have been delegated authority by the [SBA] Administrator to make and approve
covered loans.” CARES Act § 1102(a)(2)(36)(F)(i1).

34. The SBA guaranteed 100 percent of the outstanding balance of these
loans, and this guarantee was backed by the full faith and credit of the United
States. 15 U.S.C. § 636(a)(2)(F).

35. The SBA also paid processing fees to each lender that funded PPP
loans. These processing fees were based on the size of the loan funded. For first

draw PPP loans, those fees were five percent for loans up to $350,000, three

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percent for loans between $350,000 and $2,000,000, and one percent for loans

of at least $2,000,000.' For second draw loans, the processing fees were fifty

percent or $2500, whichever was less, for loans of not more than $50,000; five
percent for loans between $50,000 and $350,000; and three percent for loans
above $350,000.

36. Most loans made under the PPP have been forgiven. As of January
2023, NPR analyzed publicly available data and found that 92 percent of PPP
loans, including loans to companies that have wealthy owners, had been

forgiven. See https://www.npr.org/2023/01/09/1145040599/ppp-loan-

forgiveness, last accessed on November 19, 2023.

37. To be eligible for loan forgiveness, PPP borrowers were required to
complete SBA Form 3508, 2508S, or 3508EZ to calculate eligible payroll and
nonpayroll costs that qualified to be forgiven. To achieve forgiveness of their
loans, borrowers were required to certify that the amount for which forgiveness
was requested:

a. did not exceed the principal amount of the PPP loan;

b. had been used to pay business costs that were eligible for forgiveness

(payroll costs to retain employees; business mortgage interest

1 For first-draw loans made on or after December 27, 2020, loans of up to $50,000 were treated
differently. Lenders were entitled to receive fifty percent of the loan or $2500, whichever was
less, for such loans made after that date.

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payments; business utility payments; covered operations
expenditures; covered property damages costs; covered supplier
costs; or covered worker protection expenditures);

c. included all applicable reductions due to decreases in the number of

full-time equivalent employees and salary/hourly wage reductions;

d. —_ included payroll costs equal to at least 60 percent of the forgiveness

amount; and,

e. | for any owner-employee who had an ownership stake of 5 percent

or more, or for any self-employed individual or general partner, did
not exceed more than 2.5 months’ worth of compensation received
during the year used to calculate the loan amount, capped at
$20,833 per individual in total across all businesses.
Paycheck Protection Program Loan Forgiveness Application Form 2508,
Revised July 30, 2021.

38. Borrowers were further required to certify that they had submitted
all required documentation to their Lender, verifying payroll costs, the existence
of obligations and service prior to February 15, 2020, and eligible business
mortgage-interest payments, rent or lease payments, and utility payments. Id.

39. Finally, borrowers were not entitled to forgiveness of a PPP loan

unless they certified that all information provided in the loan application,

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supporting documents, and other forms was true and correct in all material
respects. Id.
B. SBA Size Limitations on Eligible Participants

40. As noted above, the CARES Act provided that only “businesses”
and certain types of non-profit organizations — namely, 501(c)(3) and 501(c)(19)
companies — were eligible to receive PPP funding. Under SBA rules,
“businesses” are defined as operating businesses located in the United States that
are “organized for profit.” 13 CFR 120.100. In this case, Defendants are not
businesses, but are 501(c)(3) organizations that were eligible for the PPP so long
as they met the size requirements. These requirements were not only material,
but vital to the PPP because the purpose of the loan program was to help small
businesses and organizations pay their employees during the pandemic.

41. As 501(c)(3) non-profit organizations, Defendants are required to
file a Form 990 each year with the IRS to demonstrate their tax-exempt status.
Among other things, Form 990 includes a total number of employees for each
organization per year. The number of employees on Form 990 includes all
individual shown on the organization’s W-3, transmittal of wage and tax
statements. In other words, each individual who received a paycheck from the

non-profit is counted on the Form 990.
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42. Inorder to qualify for the first round of the program loans, 501(c)(3)
nonprofit organizations were required to either have 500 or fewer employees or
meet the SBA employee-based size standards for the industry in which they
operated, whichever was greater. None of the industries in which Defendants
operated had size standards higher than 500. Therefore, to receive a “first draw”
PPP loan, each Defendant was required to certify that it had 500 or fewer
employees. 15 U.S.C. § 636(a)(36)(D)()(1).

43. To calculate their number of employees, PPP first draw applicants
were permitted to use either 1) the average number of employees over the 12
previous months, 2) the average number of employees for calendar year 2019,
or 3) their average number of employees for each pay period during the 12
calendar months prior to the loan applications. Potential borrowers were
required to count full-time, part-time, temporary, and furloughed employees, as
well as employee residing outside of the United States. 13 C.F.R. 121.106(b);
SBA PPP FAQ 14. Second draw applicants could use the average employment
over the time period used to calculate their loan amount or their average number
of employees for each pay period during the 12 calendar months prior to the

loan applications.

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44. Congress originally provided $349 billion to fund the PPP, but those
funds were depleted within weeks of the CARES Act’s effective date, on April
16, 2020. On April 24, 2020, an additional $320 billion was allocated to the PPP.

45. Atthe end of 2020, in the Consolidated Appropriations Act of 2021,
Congress further expanded the PPP by adding an additional $284.5 billion in
funding, allowing certain borrowers to obtain “second draw” loans. By May 5,
2021, these additional funds had been depleted.

46. Tobe eligible for a second draw loan, entities were required to have
received a first draw loan that was used in full for eligible expenses, have no
more than 300 employees, and demonstrate a 25% reduction in gross receipts
between comparable quarters in 2019 and 2020. 15 U.S.C. § 636(a)(37).

47. While the average number of employees in a given period and the
total number of employees over a year may vary due to hiring needs and
employee turnover, Defendants’ reported employee numbers vary between their
Form 990s and their PPP applications to such an extent as to indicate fraud in
the loan applications. Defendants’ PPP applications claim that they averaged
only a small percentage of their total yearly employees over the relevant period
or, in some instances, claim that they averaged more employees than they

employed in total.

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48. By undercounting employees, these organizations fraudulently
represented that they met the size standard required by the PPP program for
either a first or second draw loan (or both), when in fact their employee numbers
disqualified them from receiving such loans and, later, loan forgiveness.
Organizations that overcounted their employees, on the other hand, falsely
inflated the amount of PPP money to which they were entitled because that
amount was based, in large part, on the number of persons employed.

C. The False Claims Act

49. The False Claims Act, or FCA, as set out in 31 U.S.C. § 3729(a)(1),
prohibits knowingly presenting, or causing to be presented, or conspiring to
present to the United States any false or fraudulent claim for payment. Further,
as set out in 31 U.S.C. § 3729(a)(2), the FCA prohibits knowingly presenting,
causing to be presented, or conspiring to make or use a false record or statement
to obtain payment or approval for a false or fraudulent claim.

50. Each violation of the FCA is a violation of federal law that is

punishable by three times the amount of the actual damages sustained by the

government, as well as a civil penalty of between $13,508 and $27,018 per claim

for violations that occurred after November 1, 2015, and for which penalties are

assessed after January 30, 2023.

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51. Under the FCA, the term “knowingly” means that a person, with
respect to information, (1) has actual knowledge of the information; (2) acts in
deliberate ignorance of the truth or falsity of the information; or (3) acts in
reckless disregard of the truth or falsity of the information. The FCA does not
require proof of a specific intent to defraud.

52. Defendants’ actions, described below, constitute the submission of
false and fraudulent claims in violation of the FCA. Defendants submitted false
loan applications, improperly received PPP funds, and improperly received
forgiveness of their loans by intentionally misrepresenting the number of
employees they had. In total, these Defendants caused losses to the government

of over sixty-five million dollars.

D. The Defendants’ Schemes to Wrongfully Apply for, Receive, and
Obtain Forgiveness for PPP Loans

a. Undercounting Employees for First Draw Loans
53. To qualify for a first draw loan, these defendants had to certify that

they had 500 or fewer employees during the applicable time period. The
maximum loan amount was the lesser of two and a half times the applicant’s
average monthly payroll costs or $10,000,000.

54. Defendant University of Dallas is a 501(c)(3) entity that reported
1453 employees on its Form 990 for the 2019 calendar year, but it claimed an

average of only 424 employees on its PPP loan application. It obtained a first

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draw PPP loan in the amount of $5,820,700 on April 11, 2020. The loan was
forgiven in its entirety, in the amount of $5,879,704, on April 23, 2021. As a
result of this loan, Prosperity Bank, the originating lender, received a one percent
processing fee from the SBA in the amount of $58,207.

55. Defendant Hendrix College is a 501(c)(3) entity that reported 1184
employees on its Form 990 for the 2019 calendar year, but it claimed an average
of only 448 employees on its PPP loan application. It obtained a first draw PPP
loan in the amount of $4,829,200 on May 6, 2020. The loan was forgiven in its
entirety, in the amount of $5,046,753, on August 23, 2021. As a result of this
loan, Southern Bancorp, the originating lender, received a one percent
processing fee from the SBA in the amount of $48,292.

56. Defendant Ouachita Baptist University is a 501(c)(3) entity that
reported 1311 employees on its Form 990 for the 2019 calendar year, but it
claimed an average of only 441 employees on its PPP loan application. It
obtained a first draw PPP loan in the amount of $4,049,700 on April 9, 2020.
The loan was forgiven in its entirety, in the amount of $4,096,743, on June 9,
2021. As a result of this loan, Southern Bancorp, the originating lender, received
a one percent processing fee from the SBA in the amount of $40,497.

57. Defendant The Masters University and Seminary is a 501(c)(3)

entity that reported 1243 employees on its Form 990 for the 2019 calendar year,

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but it claimed an average of only 318 employees on its PPP loan application. It
obtained a first draw PPP loan in the amount of $4,347,800 on August 8, 2020.
The loan was forgiven in its entirety, in the amount of $4,382,820, on June 9,
2021. As a result of this loan, United Business Bank, the originating lender,
received a one percent processing fee from the SBA in the amount of $43,478.
58. Defendant Husson University is a 501(c)(3) entity that reported
1484 employees on its Form 990 for the 2019 calendar year, but it claimed an
average of only 492 employees on its PPP loan application. It obtained a first
draw PPP loan in the amount of $5,965,000 on April 14, 2020. The loan was
forgiven in its entirety, in the amount of $6,143,618, on April 7, 2023. Asa result

of this loan, Bangor Savings Bank, the originating lender, received a one percent

processing fee from the SBA in the amount of $59,650.

59. Defendant Concordia University is a 501(c)(3) entity that reported
1582 employees on its Form 990 for the 2019 calendar year, but it claimed an
average of only 325 employees on its PPP loan application. It obtained a first
draw PPP loan in the amount of $3,285,100 on April 5, 2020. The loan was
forgiven in its entirety, in the amount of $3,323,426, on June 9, 2021. As a result
of this loan, Jones Bank, the originating lender, received a one percent

processing fee from the SBA in the amount of $32,851.

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60. Defendant Oklahoma Baptist University is a 501(c)(3) entity that
reported 1233 employees on its Form 990 for the 2019 calendar year, but it
claimed an average of only 402 employees on its PPP loan application. It
obtained a first draw PPP loan in the amount of $4,370,400 on April 8, 2020.
The loan was forgiven in its entirety, in the amount of $4,420,330, on June 9,
2021. As a result of this loan, BancFirst, the originating lender, received a one
percent processing fee from the SBA in the amount of $43,704.

61. Defendant Oklahoma Christian University Inc. is a 501(c)(3) entity
that reported 1368 employees on its Form 990 for the 2019 calendar year, but it
claimed an average of only 440 employees on its PPP loan application. It
obtained a first draw PPP loan in the amount of $4,211,700 on April 6, 2020.
The loan was forgiven in its entirety, in the amount of $4,260,603, on June 9,
2021. As a result of this loan, MidFirst Bank, the originating lender, received a
one percent processing fee from the SBA in the amount of $42,117.

62. Defendant Mental Health Cooperative Inc. is a 501(c)(3) entity that

reported 853 employees on its Form 990 for the 2019 calendar year, but it

claimed an average of 500 employees on its PPP loan application. It obtained a
first draw PPP loan in the amount of $7,230,530 on April 30, 2021. The loan

was forgiven in its entirety, in the amount of $7,289,780, on March 3, 2022. As

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a result of this loan, Fifth Third Bank, the originating lender, received a one
percent processing fee from the SBA in the amount of $72,305.

63. Defendant Bennington College Corporation is a 501(c)(3) entity
that reported 1084 employees on its Form 990 for the 2019 calendar year, but it
claimed an average of only 370 employees on its PPP loan application. It
obtained a first draw PPP loan in the amount of $5,945,442 on April 12, 2020.
The loan was forgiven in its entirety, in the amount of $6,023,558, on August
10, 2021. As a result of this loan, TD Bank, the originating lender, received a
one percent processing fee from the SBA in the amount of $59,454.

64. Defendant Beloit College is a 501(c)(3) entity that reported 1402
employees on its Form 990 for the 2019 calendar year, but it claimed an average
of only 421 employees on its PPP loan application. It obtained a first draw PPP
loan in the amount of $4,687,300 on April 14, 2020. The loan was forgiven in
its entirety, in the amount of $4,718,187, on October 14, 2021. As a result of this
loan, PNC Bank, the originating lender, received a one percent processing fee
from the SBA in the amount of $46,873.

65. Defendant West Virginia Wesleyan College is a 501(c)(3) entity that
reported 904 employees on its Form 990 for 2019 but claimed an average of only
315 employees on its PPP loan application. It obtained a first draw PPP loan in

the amount of $2,684,300 on April 11, 2020. The loan was forgiven in its

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entirety, in the amount of $,2714,085, on June 9, 2021. As a result of this loan,
Huntington National Bank, the originating lender, received a one percent
processing fee from the SBA in the amount of $26,843.

b. Undercounting Employees for Second Draw Loans

66. To qualify for a second draw loan, applicants had to certify that they
had 300 or fewer employees during the applicable time period. The maximum
loan amount was the lesser of two and a half times the applicant’s average
monthly payroll costs or $2,000,000.

67. Defendant Spring Hill College is a 501(c)(3) entity that reported 720
employees on its Form 990 for 2020 but claimed an average of only 297
employees on its PPP loan application. It obtained a second draw PPP loan in
the amount of $2,000,000 on January 23, 2021. The loan was forgiven in its
entirety, in the amount of $2,022,958, on January 6, 2022. As a result of this
loan, ServisFirst Bank, the originating lender, received a three percent
processing fee from the SBA in the amount of $60,000.

68. Defendant Marcus Jewish Community Center of Atlanta Inc. is a
501(c)(3) entity that reported 658 employees on its Form 990 for 2020 but
claimed an average of only 291 employees on its PPP loan application. It
obtained a second draw PPP loan in the amount of $2,000,000 on February 3,

2021. The loan was forgiven in its entirety, in the amount of $2,026,222, on May

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24, 2022. As a result of this loan, Affinity Bank, the originating lender, received
a three percent processing fee from the SBA in the amount of $60,000.

69. Defendant Jewish Community Center of Greater Kansas City is a
501(c)(3) entity that reported 665 employees on its Form 990 for 2020 but
claimed an average of only 293 employees on its PPP loan application. It
obtained a second draw PPP loan in the amount of $1,547,120 on February 3,
2021. The loan was forgiven in its entirety, in the amount of $1,562,718, on
February 16, 2022. As a result of this loan, AMB Bank, the originating lender,
received a three percent processing fee from the SBA in the amount of $46,413.

70. Defendant Eastern Nazarene College is a 501(c)(3) entity that
reported 576 employees on its Form 990 for 2020 but claimed an average of only
248 employees on its PPP loan application. It obtained a second draw PPP loan
in the amount of $1,999,995 on February 26, 2021. The loan was forgiven in its
entirety, in the amount of $2,018,777, on February 7, 2022. As a result of this
loan, Rockland Trust Company, the originating lender, received a three percent
processing fee from the SBA in the amount of $59,999.

71. Defendant University of Jamestown is a 501(c)(3) entity that
reported 921 employees on its Form 990 for 2020 but claimed an average of only
276 employees on its PPP loan application. It obtained a second draw PPP loan

in the amount of $2,000,000 on February 14, 2021. The loan was forgiven in its

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entirety, in the amount of $2,011,555 on September 16, 2021. As a result of this
loan, Dacotah Bank, the originating lender, received a three percent processing
fee from the SBA in the amount of $60,000.

72. Defendant Limestone University is a 501(c)(3) entity that reported
844 employees on its Form 990 for 2020 but claimed an average of only 288
employees on its PPP loan application. It obtained a second draw PPP loan in
the amount of $2,000,000 on March 5, 2021. The loan was forgiven in its
entirety, in the amount of $2,016,777, on January 13, 2022. As a result of this
loan, First National Bank of Pennsylvania, the originating lender, received a
three percent processing fee from the SBA in the amount of $60,000.

a. Overcounting Employees to Increase Loan Amounts.

73. Because PPP loan amounts were based on average monthly payroll
amounts, and because payroll costs per employee were limited to $100,000 per
year, applicants who overstated the number of employees they had illegitimately
increased the loan amounts they received, and for which they were forgiven,
over that to which they were legally entitled.

74. Defendant Education Success Network, Inc. is a 501(c)(3) entity
that reported 41 total employees on its Form 990 for 2019 but claimed to have
an average of 176 employees on its first PPP loan application. It obtained a first

draw PPP loan in the amount of $1,482,500 on April 15, 2020. If Defendant had

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properly reported that it had, at most, 41 employees, even if each of those
employees made $100,000 or more, Education Success Network would have
only been entitled to receive a maximum loan amount of $854,132. The first
draw loan was forgiven in its entirety, in the amount of $1,499,072, on June 10,
2021. As a result of this loan, Citizens Bank, NA, the originating lender, received
a three percent processing fee from the SBA in the amount of $44,475.

75. Education Success Network, Inc. also obtained a second draw PPP
loan in the amount of $1,482,500 on April 1, 2021. On its application for that
loan, Education Success Network, Inc. again claimed to have an average of 176
employees, although its 2020 Form 990 revealed that it had a total of 29
employees in that calendar year. If Defendant had properly reported that it had,
at most, 29 employees, even if each of those employees made $100,000 or more,
Education Success Network would have only been entitled to receive a
maximum loan amount of $604,142. Its second draw loan was forgiven in its
entirety, in the amount of $1,495,822, on March 3, 2022. As a result of these
loans, Citizens Bank, NA, the originating lender, received a three percent
processing fee from the SBA for each loan in the total amount of $44,475.

76. Defendant National Association on Drug Abuse Problems Inc. is a
501(c)(3) entity that reported 182 employees on its Form 990 for 2019 but

claimed to have an average of 333 employees on its PPP loan application. It

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obtained a first draw PPP loan in the amount of $3,197,222 on April 12, 2020.
On information and belief, the actual salaries of the, at most, 182 employees
would not have supported this loan amount. The loan was forgiven in its
entirety, in the amount of $3,264,275, on May 17, 2022. As a result of this loan,
TD Bank, the originating lender, received a one percent loan-processing fee from
the SBA in the amount of $31,972.

a. The Defendants’ Applications Were Fraudulent.

77. In order to receive these loans, each Defendant signed a loan
application certifying that it was “eligible to receive a loan under the rules in
effect at the time this application is submitted that have been issued by the Small
Business Administration” and that “current economic uncertainty makes this
loan necessary to support the ongoing operations of the Applicant.” And, in
order to have their loans forgiven, each Defendant certified that it had “complied
with all requirements in the Paycheck Protection Program Rules.” Each of these
statements was false.

78. Most of the Defendants intentionally underreported the average
number of employees they had, as shown by their true total number of
employees, to “meet” the size standards set forth by the CARES Act. The PPP
required 501(c)(3) organizations to have 500 or fewer employees in order to

receive a first draw loan and to have 300 or fewer employees in order to receive

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a second draw loan. Defendants who had more employees than allowed took
loans to which they were not entitled, received loan forgiveness to which they
were not entitled, and caused the SBA to pay loan-processing fees to which the
originating lenders were not entitled.

79. Two Defendants intentionally overreported the average number of
employees they had, as shown by their true total number of employees, so that
they could receive larger loan amounts than those to which they were truly
entitled. By so doing, they took loan amounts to which they were not entitled,
received loan forgiveness amounts to which they were not entitled, and caused
the SBA to pay loan-processing fee amounts to which the originating lenders
were not entitled.

80. The certifications to the SBA and the lenders were material because
the SBA relied on the honesty of applicants to process PPP loans as quickly as
possible to get relief to American businesses during the pandemic. Because the
PPP funds were repeatedly depleted, Defendants’ false certifications not only
likely prohibited eligible businesses from receiving funds but also deprived the
United States of the millions of dollars in loan and interest repayments to which
it would have been entitled if Defendants had not wrongly applied for and

received loan forgiveness by falsely claiming to have followed all PPP rules.

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E.  Relator’s Knowledge of the Fraud

81. Relator Patricia Lesko is an independent investigative journalist
who has worked to expose fraud and corruption for more than 14 years. In 2020,
while writing a data-driven piece for The Ann Arbor Independent, of which she
is the editor, Ms. Lesko familiarized herself with PPP loan eligibility
requirements and consulted with the president of a local bank to learn about and
understand the PPP loan process. She also developed a proprietary dataset
combining information about PPP loan-application data, NAICS code-size
standards, and non-profit status.

82. As the result of intensive investigation and the careful review and
aggregation of public data from several different sources, Ms. Lesko identified
defendants and others as perpetrators of PPP loan fraud who had fraudulently
received, and been forgiven for, such loans.

83. Relator now brings this action on behalf of the United States of
America to recover the damages caused by Defendants’ fraud against the PPP

program and the SBA.

Vv. CAUSES OF ACTION
COUNT I
FALSE CLAIMS ACT — PRESENTATION OF FALSE CLAIMS

84. The preceding paragraphs are incorporated.

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85. Relator brings this civil action on behalf of the United States of
America against Defendants under the False Claims Act, 31 U.S.C. §§ 3729-33.

86. During the relevant period, Defendants knowingly presented or
caused to be presented materially false or fraudulent claims for payment to the
United States, through the Small Business Administration, in violation of 31
U.S.C. § 3729(a)(1)(A).

87. Defendants did so by knowingly presenting or causing to be
presented applications for approval of PPP loans for which they were ineligible.

88. Defendants’ knowingly false certifications on their PPP loan
applications were material to the government’s decision to award them PPP

loans. When submitting a PPP loan application, an applicant was required to

certify that it was eligible, and that all information included in the application

form was true and accurate in all material respects.

89. Defendants had actual knowledge of the falsity of their claims or
deliberately ignored or recklessly disregarded their truth or falsity, within the
meaning of the FCA.

90. But for Defendants’ submission of these false claims, the SBA
would not have approved the loans or paid the lenders the processing fee for the

loan applications.

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91. The United States suffered damages because of the false claims that
Defendants made or caused to be made and is entitled to recover its losses and
to obtain other relief available under the FCA, including treble damages and
civil penalties.

COUNT I

FALSE CLAIMS ACT —- CREATING A FALSE RECORD OR
STATEMENT MATERIAL TO A FALSE CLAIM

92. The preceding paragraphs are incorporated.

93. Defendants knowingly made or caused to be made false records or
statements to support false claims submitted to the SBA in violation of 31 U.S.C.
§ 3729(a)(1)(B).

94. Defendants’ creation of knowingly false loan applications supported
the lenders’ claims to the SBA for loan-processing fees for loans that were falsely
or fraudulently obtained by Defendants.

95. Defendants had actual knowledge of the falsity of these records and
statements or deliberately ignored or recklessly disregarded their truth or falsity,
within the meaning of the FCA.

96. The United States suffered damages because of the false records and
statements that Defendants made, used, and caused to be made and used, and
is entitled to recover its losses and to obtain other relief available under the FCA,

including treble damages and civil penalties.

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COUNT Ii

FALSE CLAIMS ACT —- IMPROPER AVOIDANCE OF OBLIGATION
TO GOVERNMENT

97. The preceding paragraphs are incorporated.

98. Defendants knowingly concealed or knowingly and improperly
avoided their obligations to pay or transmit money or property to the
government in violation of 31 U.S.C. § 3729(a)(1)(G).

99. Defendants did so by falsely certifying compliance with the PPP
program in applying for forgiveness of their PPP loans and by failing to repay
the PPP loans they received.

100. But for Defendants’ concealment, the SBA would not have forgiven
Defendants’ obligation to repay the PPP loans, including interest.

101. The United States suffered damages because of these
misrepresentations and is entitled to recover its losses and to obtain other relief
available under the FCA, including treble damages and civil penalties.

VI. JURY DEMAND

102. Relator respectfully demands a trial by jury.

Vil. PRAYER

103. Relator respectfully requests the following relief:
(a) That judgment be entered in favor of the United States and

Relator and against Defendants in the amount of all damages

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(b)

(c)

(d)

(f)

COMPLAINT

sustained because of Defendants’ actions, multiplied by three as
provided by 31 U.S.C. § 3729(a), plus a civil penalty for each and
every such claim in the amount of between $13,508 and $27,018
per claim;

That Relator be awarded the maximum amount permissible
under 31 U.S.C. § 3730(d), including the costs and expenses of
this action and reasonable attorneys’ fees;

That, pursuant to 31 U.S.C. § 3730(c)(5), Relator be awarded a
share of any alternate remedy that the United States elects to
pursue;

That permanent injunctive relief be granted to prevent any
recurrence of the False Claims Act conduct described above for
which redress is sought in this Complaint;

That the United States and Relator be awarded prejudgment and
post-judgment interest; and

That the United States and Relator receive all such other and
further relief, at law or in equity, to which they show themselves

to be justly entitled.

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DATED: April 2, 2024

Respectfully submitted,

/s/ Elizabeth K. Stepp
Elizabeth K. Stepp

Texas Bar No. 00788467
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OBERHEIDEN P.C.

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Houston, Texas 77002

(214) 334-7648 (Telephone)

(972) 559-3365 (Facsimile)
ATTORNEYS FOR RELATOR

COMPLAINT Ba

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COVER SHEET

if ained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
siiotided boy lneel rides of cea This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
United States ex rel. Patricia Lesko University of Dallas, et al. (see separate sheet)

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAL :
: NOTE: INLAND CONDEMNATION CAS
THE TRACT OF LAND INVOLVE
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Elizabeth K. Stepp APR - y 2024
Oberheiden, P.C.
440 Louisiana St., Suite 200, Houston, TX 77002 214-334-7648 cL
IL. BASIS OF JURISDICTION (Piace an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL P4 RTRES Tp koh dee Picea
(For Diversity Cases Only) L NOR “ ,
[X]1 U.S. Government [13 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State (11 [J 1 meorporated or Principal Place O4 £4
of Business In This State
[2 US. Government (114 Diversity Citizen of Another State [12 [J 2 Incorporated and Principal Place []5 [_]5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a C13 [] 3 Foreign Nation Cle Cie
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: f Sui ipti
L___ CONTRACT. TORTS. FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY |{_]625 Drug Related Seizure 422 Appeal 28 USC 158 —_[X] 375 False Claims Act
120 Marine 310 Airplane (1 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability  [_ ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [] 367 Health Care/ ——JNTELLECTUAL ~~ L_] 400 State Reapportionment
150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical ___ PROPERTY RIGHTS _| | 410 Antitrust
& Enforcement of Judgment} Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
Face eae Liability [] 368 Asbestos Personal A 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability __ 840 Trademark Corrupt Organizations
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY | 880 Defend Trade Secrets |] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud ]710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle | 371 Truth in Lending Act |] 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal 1720 Labor/Management Protection Act
195 Contract Product Liability |] 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury [1] 385 Property Damage Pl einen aes 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_
Medical Malpractice Leave Act 864 SSID Title XVI Ll 890 Other Statutory Actions
[__ REAL PROPERTY | CIVIL RIGHTS [PRISONER PETITIONS | |790 Other Labor Litigation 865 RSI (405(g)) [_| 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act 895 Freedom of Informati
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
2A5 Tort Product Liability Accommodations 530 General [_] 871 IRS—Third Party 899 Administrative Procedure
290 All Other Real Property 445 Amer. w/Disabilities -[_| 535 Death Penalty Y IMMIGRATION. _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -[_ ] 540 Mandamus & Other [_ |465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
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V. ORIGIN (Place an “X” in One Box Only)
[x]! Original [J2. Removed from [1] 3 Remanded from [14 Reinstated or [—] 5 Transferred from [~] 6 Multidistrict [8 Multidistrict
Proceeding

State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
31 U.S.C. sec. 3729-33
VI. CAUSE OF ACTION [For description of
False Claims Act/PPP Loan Fraud
VII. REQUESTED IN’ [| CHECK IFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 195,000,000 JURY DEMAND: [Ixlyes []No
VIII. RELATED CASE(S)
IF ANY (See instructions): ER
DATE “SIGNATURE OF ATTORNEY OF Fn ae ae
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FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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DEFENDANTS:

University of Dallas

Hendrix College

Ouachita Baptist University

The Masters University and Seminary

Husson University

Concordia University

Oklahoma Baptist University

Oklahoma Christian University

Mental Health Cooperative, Inc.

Bennington College Corporation

Beloit College

West Virginia Wesleyan College

Spring Hill College

Marcus Jewish Community Center of Atlanta Inc.
The Jewish Community Center of Greater Kansas City
Eastern Nazarene College

University of Jamestown

Limestone University

Education Success Network, Inc.

National Association on Drug Abuse Problems Inc.

